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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Case Number 09-20023-BC
                                                             Honorable Thomas L. Ludington
v.

D-8 EBAN KARIM JACKSON,

                  Defendant.
_______________________________________/


      ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
     DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE OF THE FOURTH
  SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA AGREEMENT
                        UNDER ADVISEMENT

       A plea hearing was conducted on February 8, 2010, by United States Magistrate Judge

Charles E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on

February 8, 2010, recommending that this Court accept the defendant’s plea of guilty as to count one

of the fourth superseding indictment. As of today’s date, no party has filed any objections to the

magistrate judge’s report and recommendation. The election to not file objections to the magistrate

judge’s report releases the Court from its duty to independently review the record. Thomas v. Arn,

474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt.

# 158] is ADOPTED.
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      It is further ORDERED that the defendant’s plea of guilty as to count one of the fourth

superseding indictment is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 148] is taken

UNDER ADVISEMENT.

                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge
Dated: March 16, 2010


                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on March 16, 2010.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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